              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                     CIVIL CASE NO. 1:09cv472
                  [CRIMINAL CASE NO. 1:06cr251-3]


ROBERT DEON HUNTER, JR.,                )
                                        )
           Petitioner,                  )
                                        )
           vs.                          )     MEMORANDUM OF
                                        )     DECISION AND ORDER
UNITED STATES OF AMERICA,               )
                                        )
         Respondent.                    )
______________________________          )

     THIS MATTER is before the Court on Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1]; the Government’s Answer [Doc. 8]; the

Government’s Motion for Summary Judgment [Doc. 9]; and the Petitioner’s

Pro Se Reply [Doc. 11]. For the reasons stated herein, Petitioner’s Motion

to Vacate will be denied and dismissed and Respondent’s Motion for

Summary Judgment will be granted.



                      I.   PROCEDURAL HISTORY

     On October 3, 2006, Petitioner was charged in a one-count Bill of

Indictment along with nine co-defendants with conspiracy to possess with




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intent to distribute 50 grams or more of a mixture or substance containing a

detectable amount of cocaine base, in violation of 21 U.S.C. §§ 841 and

846. [Criminal Case No. 1:06cr251, Doc. 3]. On February 22, 2007, the

Petitioner entered into a Plea Agreement pursuant to which he agreed to

plead guilty to the Bill of Indictment. [Id., Doc. 112 at 1].1 The Plea

Agreement contained an express waiver of his right to appeal or challenge

his conviction and sentence on collateral review except as to claims of

ineffective assistance of counsel, prosecutorial misconduct or the

reasonableness of any upward variance. [Id., Doc. 112 at ¶18].

      On February 28, 2007, the Petitioner appeared before the Honorable

Dennis L. Howell, United States Magistrate Judge, and pled guilty to

conspiracy to possess with intent to distribute a mixture or substance

containing a detectable amount of cocaine base. Judge Howell engaged

Petitioner in a lengthy colloquy to ensure that he understood the nature and

consequences of the proceedings and his actions. [Id., Doc. 130].2 During


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       On February 21, 2007, the caption of the Plea Agreement was amended to
include an alias name used by Petitioner. [Id., Doc. 131].
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        The Court notes that a transcript of Petitioner’s Plea and Rule 11 hearing was
not prepared in this case for purposes of Petitioner’s appeal. The Court, however, has
the benefit of Petitioner’s Rule 11 Inquiry and Order of Acceptance of Plea form which
the Magistrate Judge filled out while questioning Petitioner during his Plea and Rule 11
hearing. The form represents the questions that Magistrate Judge Howell asked
Petitioner during the hearing as well as Petitioner’s sworn responses. Such document

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the plea colloquy, Petitioner affirmed under oath that he understood the

elements of the offense to which he was pleading guilty and the maximum

penalties he faced and that he was, in fact, guilty of the charged drug

conspiracy. [Id. at ¶¶11-12, 27]. Petitioner affirmed that he understood

how the Sentencing Guidelines might apply to his case; that he might

receive a sentence that was either higher or lower than that called for by

the Guidelines; and that even if his sentence was more severe than

expected, he would nevertheless be bound by his plea and have no right to

withdraw it. [Id. at ¶¶17, 21-22]. Petitioner also affirmed that he was

waiving his right to a jury trial and to confront the witnesses against him;

that he was waiving his right to challenge either his conviction or sentence

in a post-conviction proceeding, except on specified grounds; and that he

“knowingly and willingly accept[ed] this limitation on [his] right . . . to file

post-conviction proceedings.” [Id. at ¶¶25-26, 34].

       Prior to Petitioner’s sentencing hearing, the Probation Office

submitted a Presentence Report (PSR). In the final version of the PSR, the

Probation Officer calculated a base offense level of 28 based on his

determination, consistent with the parties’ stipulation in the plea agreement,



is part of Petitioner’s criminal file. [Criminal Case No. 1:06cr251, Doc. 130].

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that Petitioner was responsible for at least 35 grams but less than 50

grams of cocaine base. [PSR at ¶17]. The Probation Officer included a

three-level reduction for Petitioner’s acceptance of responsibility. [Id. at ¶

24]. Based on a total offense level of 25 and a criminal history category of

VI, the Probation Officer noted an applicable Guidelines range of

imprisonment of between 110 and 137 months’ imprisonment. [Id. at

¶107]. With respect to the statutory range of imprisonment, the Probation

Officer found that the range was not less than five years nor more than 40

years. [Id. at ¶106].

      Petitioner, through counsel, filed several objections to the revised

PSR. First, Petitioner objected that he should have received a two-level

reduction in his offense level, based on his role in the offense as a “runner,”

thus qualifying him for a reduction based on U.S.S.G. § 3B1.2. Petitioner

also objected to his criminal history point assessment, as several of his

charges were consolidated for sentencing purposes and it was “unclear

that the sentence was imposed after the case was remanded to NC District

Court.” [Id. at 27]. Finally, Petitioner objected that the PSR “was prepared

without a personal interview of the defendant by the probation officer with

his attorney present.” [Id. at 28]. The Probation Officer noted that if all of



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Petitioner’s objections were sustained, the Guidelines range would

decrease to 92 to 115 months, and that the statutory provisions would

remain the same. [Id. at 29]. The Government did not file objections to the

PSR.

           On November 27, 2007, the Honorable Lacy Thornburg, United

States District Judge, conducted Petitioner’s sentencing hearing. During

the hearing, Petitioner, through counsel, stipulated to a factual basis

sufficient to support his guilty plea as set forth in the PSR, subject to his

objections to the PSR, and the Court accepted his guilty plea. [Criminal

Case No. 1:06cr251, Doc. 240 at 2]. Petitioner’s counsel acknowledged

that he and Petitioner had reviewed the PSR and understood its contents,

but argued, consistent with his written objections, that Petitioner should

receive a two-level reduction in his offense-level based on his having been

a minor participant in the conspiracy. [Id. at 4].            Counsel noted that

Petitioner served as a runner and that the drug quantity for which he was

responsible was relatively low. [Id. at 5-6].3 The Government argued in

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           In response to this objection to the PSR, the probation officer noted as follows:

                 According to USSG § 3B1.2, Commentary Application Note #
                 5, a minor participant is one who is less culpable than most
                 other participants. The defendant was involved with this
                 cocaine conspiracy on a daily basis for more than four years,
                 had knowledge of ounce amounts of crack cocaine being

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response that Petitioner served as a runner for more than four years,

through the entire time period of the conspiracy, and was responsible for

the distribution of at least 35 grams of cocaine base. [Id. at 6]. The Court

overruled the objection. While not explicitly arguing for a downward

variance, Petitioner’s counsel then argued for a more lenient sentence

based on the fact that the conspiracy offense was a family business, that

Petitioner’s role was as a runner, that Petitioner had a serious drug

problem himself, and that Petitioner was a high school graduate and had

taken a number of correspondence courses since his imprisonment. [Id. at

7-8]. The Court sentenced Petitioner to 120 months’ imprisonment,

specifically stating that it had considered the sentencing factors set forth in

§ 3553(a) in determining the sentence. [Id. at 9].

      Petitioner appealed to the Fourth Circuit Court of Appeals and argued

that this Court erred in denying him a two-level reduction based on his

minor role. On March 27, 2009, the Fourth Circuit Court of Appeals

affirmed the judgment of this Court, holding that Petitioner’s appeal


               delivered and sold from the residence, and cumulatively, was
               responsible for personally selling at least 35 grams of crack
               cocaine. Hunter’s conduct rises far above that of a minor
               participant.   No change in the presentence report is
               recommended.

[PSR at 27].

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challenging this Court’s Guidelines range calculation was barred by his

appellate waiver. United States v. Hunter, 319 F. App’x 290, 292 (4th Cir.

2009) (per curiam).4 Petitioner did not file a petition for writ of certiorari.

      This case was assigned to the undersigned upon Judge Thornburg’s

retirement. On December 29, 2009, Petitioner filed the instant Motion to

Vacate, arguing that his counsel for ineffective for: (1) failing to adequately

investigate the case and research law prior to advising Petitioner to plead

guilty; (2) failing to object to the criminal history calculation set forth in the

PSR; (3) failing to request a downward departure; (4) failing to properly and

effectively argue for a lower sentence under 18 U.S.C. § 3553(a); (5)

advising Petitioner to waive appellate rights based on availability of a

downward departure; and (6) failing to advise Petitioner adequately as to

the term of his guilty plea and the waiver of his appellate rights. Petitioner

also generally challenges the voluntariness of his plea. [Doc. 1-1].



                              II.   LEGAL DISCUSSION

      To establish a claim of ineffective assistance of counsel, a petitioner

must show that counsel’s performance fell below an objective standard of


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          The Court notes that Petitioner’s appeal was consolidated with his father’s
appeal.

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reasonableness, and that he was prejudiced by such constitutionally

deficient representation. Strickland v. Washington, 466 U.S. 665, 687-91,

104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). In measuring counsel’s

performance, there is “a strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.” Id. at 689,

104 S.Ct. 2052.

      To demonstrate prejudice, Petitioner must show a probability that the

alleged errors worked to his “actual and substantial disadvantage, infecting

his trial with error of constitutional dimensions.” Murray v. Carrier, 477

U.S. 478, 494, 106 S.Ct. 2639, 91 L.Ed.2d 397 (1986) (quoting United

States v. Frady, 456 U.S. 142, 170, 102 S.Ct. 1584, 71 L.Ed.2d 816

(1982)). Under these circumstances, Petitioner “bears the burden of

proving Strickland prejudice.” Fields v. Attorney General of State of Md.,

956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins v. Garrison, 724 F.2d

at 1430-31 (4th Cir. 1983)). Therefore, if Petitioner fails to meet this

burden, a “reviewing court need not consider the performance prong.”

Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697, 104 S.Ct.

2052).




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      Moreover, in considering the prejudice prong of the analysis, the

Court must not grant relief solely because Petitioner can show that, but for

counsel’s performance, the outcome of the proceeding would have been

different. Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the

Court “can only grant relief under . . . Strickland if the ‘result of the

proceeding was fundamentally unfair or unreliable.’” Id. (quoting Lockhart v.

Fretwell, 506 U.S. 364, 369, 113 S.Ct. 838, 122 L.Ed.2d 180 (1993)).

      A petitioner seeking post-conviction relief bears a heavy burden to

overcome this presumption, and the presumption is not overcome by

conclusory allegations. Carpenter v. United States, 720 F.2d 546, 548 (8th

Cir. 1983). Indeed, the petitioner bears an even heavier burden where the

claim of ineffective assistance of counsel follows the entry of a guilty plea.

Where a defendant has entered a plea of guilty, he must show that but for

counsel’s unprofessional errors, he would have gone to trial instead of

pleading guilty. Hill v. Lockhart, 474 U.S. 52, 59, 106 S.Ct 366, 88 L.Ed.2d

203 (1985). Because some of Petitioner’s claims challenge issues at

sentencing, in order to demonstrate an entitlement to relief, he must, at a

minimum, allege facts which establish that his “sentence would have been




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more lenient” absent counsel’s errors. Royal v. Taylor, 188 F.3d 239, 249

(4th Cir. 1999).

      Petitioner first argues that his counsel was ineffective for failing to

conduct a proper investigation and research legal issues prior to

encouraging Petitioner to accept the plea offer, “essentially coerc[ing]

[Petitioner] to plead guilty by constantly advising [him] that the prosecution

would convict and sentence him to Life imprisonment without parole.”

[Doc. 1-1 at 5]. Petitioner states that the charges against him “lacked any

evidentiary support” and that “[h]ad counsel conducted the necessary

investigations he would have most probably discovered facts to support

[Petitioner’s defense].” [Id. at 6-7].

      It is well-established that “counsel has a duty to make reasonable

investigations or to make a reasonable decision that makes particular

investigations unnecessary.” Wiggins v. Smith, 539 U.S. 510, 521, 123

S.Ct. 2527, 156 L.Ed.2d 471 (2003) (quoting Strickland, 466 U.S. at 690-

91, 104 S.Ct. 2052). In the instant case, however, Petitioner fails to allege

any facts or information which would have yielded a sufficient defense that

should have prompted counsel to advise against entering into a plea

agreement with the Government. While Petitioner claims that further



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investigation “would have most probably” uncovered facts to support a

defense on his behalf, [Doc. 1-1 at 6], Petitioner does not identify what

those facts would have been and cannot, therefore, show that there is a

reasonable probability that further investigation would have uncovered a

defense sufficient to call into question his decision to plead guilty.

Petitioner makes the bald assertion that had counsel investigated further,

he would not have entered a guilty plea, but does not support that claim

with any fact, the discovery of which was likely through investigation and

that would have resulted in a not guilty plea and, ultimately, an acquittal or

a lower sentence. Petitioner has not shown either deficient performance or

prejudice and therefore, his claim must fail.

      To the extent that Petitioner is arguing that his counsel was

ineffective for coercing him to plead guilty, such claim also fails. Indeed,

the record of Petitioner’s Plea and Rule 11 Hearing belies Petitioner’s

allegation that his counsel pressured him into pleading guilty.

Magistrate Judge Howell specifically reviewed with Petitioner the charge to

which Petitioner was pleading guilty and advised him of the elements of the

offense as well as the minimum and maximum penalties of the offense.

Magistrate Howell then inquired whether the Petitioner’s guilty plea was



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voluntary and not the result of coercion, threats or promises other than

those contained in the written plea agreement. Petitioner responded in the

affirmative, thereby indicating that his guilty plea was voluntary. [Criminal

Case No. 1:06cr251, Doc. 130 at ¶28]. The Court then confirmed that

Petitioner had sufficient time to discuss possible defenses with his attorney,

that he was satisfied with the services of his attorney, that he fully

understood what he was doing, and that he wanted the Court to accept his

plea of guilty. [Id. at ¶¶ 36-38].

      A review of the Rule 11 Inquiry and Order of Acceptance of Plea form

establishes that the statements which Petitioner made to the Court stand in

stark contrast with his belated, self-serving allegation that counsel

“coerced” him into pleading guilty. Further, Petitioner is bound by the

statements he made at the Plea and Rule 11 hearing and those statements

cannot be set aside merely on the basis of his post-judgment assertions to

the contrary. Rather, Petitioner’s statements “constitute a formidable

barrier” to this post-judgment attack. Blackledge v. Allison, 431 U.S. 63,

73-74, 97 S.Ct. 1621, 52 L.Ed.2d 136 (1977); accord United States v.

Lemaster, 403 F.3d 216, 222 (4th Cir. 2005) (affirming summary dismissal

of § 2255 motion, including ineffective assistance claim, noting inconsistent



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statements made during Rule 11 hearing). In sum, the Court finds that

Petitioner has failed to satisfy either prong of the Strickland test and,

therefore, his claim of ineffective assistance of counsel must fail.

      To the extent that Petitioner is challenging the voluntariness of his

plea, such claim is procedurally barred as Petitioner did not raise this claim

on appeal. Generally, claims that could have been but were not raised on

direct review are procedurally barred. “Habeas review is an extraordinary

remedy and will not be allowed to do service for an appeal.” Bousley v.

United States, 523 U.S. 614, 621, 118 S.Ct. 1604, 140 L.Ed.2d 828 (1998)

(citation and internal quotation marks omitted). It is well-settled that

collateral attacks under 28 U.S.C. § 2255 are limited to claims of

constitutional magnitude or to errors which inherently result in a complete

miscarriage of justice. See United States v. Addonizio, 442 U.S. 178, 185,

99 S.Ct. 2235, 60 L.Ed.2d 805 (1979). In order to collaterally attack a

conviction or sentence based upon errors that could have been but were

not pursued on direct appeal, a petitioner must show cause and actual

prejudice resulting from the errors complained of or that he is actually




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innocent.5 See United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th

Cir. 1999).

       The term “cause” refers to some kind of impediment. United States

v. Smith, 241 F.3d 546, 548 (7th Cir. 2001). Thus, the existence of cause

for a procedural default must turn on some external factor that impedes

defense counsel’s efforts to comply with a procedural rule. Murray v.

Carrier, 477 U.S. 478, 488, 106 S.Ct. 2639 (1986). As set forth below,

Petitioner has failed to carry his burden of establishing cause. In order to

establish “actual prejudice” the defendant must show “not merely that the

errors at his trial created a possibility of prejudice, but that they worked to

his actual and substantial disadvantage, infecting his entire trial with error

of constitutional dimensions.” Frady, 456 U.S. at 170, 102 S.Ct. 1584. In

this case, Petitioner has not met his burden in establishing cause for failing

to raise this claim on direct appeal. Therefore, Petitioner’s claim regarding

the voluntariness of his plea is procedurally barred.6




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           Petitioner makes no claim of actual innocence.
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         Even if this claim were not barred, however, it is belied by the record which
establishes that the Court reviewed the elements of each count of the Indictment with
Petitioner. The Court then thoroughly questioned Petitioner regarding his
understanding of the rights he was waiving by pleading guilty, including his right to go to
trial and all the rights attendant thereto. [See Criminal Case No. 1:06cr251, Doc. 130].

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       Next, Petitioner argues that his counsel was ineffective for failing to

adequately advise and explain the terms of the plea agreement.

Specifically, Petitioner alleges that the post-conviction waiver in his plea

agreement was “not intelligently and knowingly made because of counsel’s

deficient performance.” [Doc. 1-1 at 7].

       In his plea agreement, Petitioner specifically waived his right to

challenge his conviction or sentence on collateral review, except with

respect to claims of ineffective assistance of counsel, prosecutorial

misconduct, or certain sentencing issues, none of which are pertinent here.

[Criminal Case No. 1:06cr251, Doc. 112 at ¶18]. The Fourth Circuit has

recognized the enforceability of these waivers as long as the defendant

waives this right knowingly and voluntarily. See Lemaster, 403 F.3d at

220.

       Petitioner’s counsel filed an affidavit in response to the instant

allegation stating that Petitioner “was fully engaged and made decisions at

each step” throughout counsel’s representation of him, and that they

throughly reviewed the implications of the plea agreement and the specific

terms of the plea agreement itself, including the waiver of his right to

appeal. [Doc. 8-1 at ¶¶4-5]. Counsel’s allegations are supported by



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Petitioner’s responses during the plea colloquy, as recorded in the Inquiry

and Acceptance of Plea form. Indeed, Petitioner responded in the

affirmative when asked whether he had discussed the right to appeal with

his attorney, and he indicated that he understood that the plea agreement

provided that he could not appeal his conviction or sentence or contest the

same in a post-conviction proceeding unless it was on the grounds of

prosecutorial misconduct, ineffective assistance of counsel or the

reasonableness of any upward variance from the Guidelines range. [Id.,

Doc. 130 at ¶34]. The Court then asked the Petitioner whether he

“knowingly accept[ed] this limitation on [his] right to appeal and to file post-

conviction proceedings.” Again, Petitioner responded in the affirmative.

[Id.].

         Moreover, in its unpublished opinion dismissing Petitioner’s appeal,

the Fourth Circuit specifically concluded that Petitioner knowingly and

intelligently waived his right to appeal his sentence, explaining that “the

language of the appellate waiver and plea agreement is clear and

unmistakable and [Petitioner] acknowledged his familiarity with and

understanding of the waiver at his Fed. R. Crim. P. 11 hearing.” Hunter,




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319 F. App’x at 292. Therefore, Petitioner cannot establish either prong of

the Strickland test for this claim and his claim must fail.

        Petitioner next argues that his counsel was ineffective for failing to

object to the criminal history calculation in the PSR. Petitioner, however,

fails to specify which offenses his counsel should have objected to and how

such objections would have resulted in a shorter sentence. Additionally,

the record belies Petitioner’s claim, in that his counsel did object, albeit

unsuccessfully, to the assessment of criminal history points based on

several of Petitioner’s prior convictions. Finally, although Petitioner does

not specify which offenses should have been excluded, the Court notes

that a review of Petitioner’s PSR reveals that the probation officer

calculated a total of 20 criminal history points, which is well over the 13

points required to fall within level VI. Petitioner has not established

deficiency or prejudice in his conclusory claim and his claim therefore must

fail.

        Petitioner next argues that his counsel should have moved for a

downward departure pursuant to Sentencing Guidelines § 4A1.3(b)(1)

based on the fact that his criminal history was “over-represented” in the

PSR. [Doc. 1-1 at 10].



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      A court may depart downward where “reliable information indicates

that the defendant’s criminal history category substantially over-represents

the seriousness of the defendant’s criminal history or the likelihood that the

defendant will commit other crimes.” U.S.S.G. § 4A1.3(b)(1). The

commentary to § 4A1.3(b)(1) suggests that the departure is warranted in

only unusual cases. Indeed, in the commentary, the Sentencing

Commission explains that such a departure may be warranted, for

example, where the defendant had two minor misdemeanor convictions

close to ten years before the offense of conviction and no other evidence of

prior criminal behavior. U.S.S.G. § 4A1.3 cmt.3. In the instant case,

Petitioner’s PSR reflects multiple convictions between the ages of 17 and

30 and includes convictions for cruelty to animals, numerous driving related

offenses, breaking and entering, false imprisonment, assault,

communicating threats and drug related offenses. Moreover, as previously

stated, Petitioner had 20 criminal history points while only 13 were required

to place him in the highest criminal history category of VI.

      Based on the facts of this case, including Petitioner’s criminal history

spanning approximately 13 years and including convictions ranging from

animal cruelty and driving offenses to drug related offenses, and the fact



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that the commentary to § 4A1.3 makes clear that this departure is only

warranted in unusual cases, Petitioner has not established that his counsel

was deficient in failing to move for a downward departure, nor is there a

reasonable probability that the departure would have been granted even if

requested. Therefore, Petitioner’s claim that his counsel was ineffective for

failing to move for a departure based on § 4A1.3 must fail.

       Next, Petitioner argues that his counsel was ineffective for failing to

argue for a non-Guideline sentence. Specifically, Petitioner contends that

the Court “never specifically applied any of the § 3553(a) factors to [his]

case” and concludes that “counsel’s complete failure to argue for [a] non-

guideline sentence . . . was deficient performance that resulted in prejudice

. . . .” [Doc. 1 at 11-12]. Petitioner further argues that his “case and

individual background presented circumstances warranting a statutory

sentence under § 3553[(a)(1)],” and that counsel should have advocated

for a lower sentence based on the disparity between powder cocaine and

crack cocaine. [Id. at 12]. He accuses counsel of being “completely out of

the jurisprudential loop, or simply fail[ing] to stay abreast of the law.” [Id. at

13].




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      First, Petitioner’s claim that his counsel was ineffective for failing to

argue for a downward variance must fail as he has not identified any

circumstance that would have justified a below-Guidelines sentence under

the factors set forth in 18 U.S.C. § 3553(a). Therefore, Petitioner has not

established that his counsel was deficient as is required under Strickland.

Next, while Petitioner asserts that this Court did not apply the § 3553(a)

factors, such claim is belied by the sentencing transcript in which Judge

Thornburg explicitly stated that he did consider the § 3553(a) factors in

determining Petitioner’s sentence. [Criminal Case No. 1:06cr251, Doc. 240

at 9]. Finally, with respect to Petitioner’s argument that counsel should

have argued the disparity between powder cocaine and crack cocaine,

Fourth Circuit law at the time of Petitioner’s sentencing clearly prohibited a

sentencing court from departing downward based on the crack/powder

disparity. See United States v. Eura, 440 F.3d 625, 634 (4 th Cir. 2006)

(holding that a district court “must not rely on a factor that would result in a

sentencing disparity that totally is at odds with the will of Congress,” such

as reliance on “recommendations to narrow the 100:1 [crack/powder

cocaine] ratio”), abrogated by Kimbrough v. United States, 552 U.S. 85,




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128 S.Ct. 558, 169 L.Ed.2d 481 (2007).7 Thus, it is unlikely that the district

court would have granted a departure request.8 Petitioner has not

established either prong of the Strickland test for ineffective assistance of

counsel, therefore, his claim must fail.

      Petitioner next argues that his counsel was ineffective for assuring

him that he would receive a two-level reduction based on his minor role in

the offense. [Doc. 1-1 at 13]. Petitioner’s counsel denies making any such

assurances. [Doc. 8-1 at ¶7]. Even assuming that counsel did make such

assurances, however, Petitioner cannot establish prejudice for such

alleged deficiency. During the Plea and Rule 11 hearing, Magistrate Judge

Howell specifically asked Petitioner whether he understood that he would

still be bound by his plea and would not have the right to withdraw his plea

even if the sentence was more severe than he expected. Petitioner

responded in the affirmative. [Criminal Case No. 1:06cr251, Doc. 130 at

¶22]. “A defendant’s solemn declarations in open court affirming a plea



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      Petitioner was sentenced on November 27, 2007 and Kimbrough was decided
on December 10, 2007.
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       The Court notes that Petitioner’s father, Robert Deon Hunter, Sr., raised this
same claim in his direct appeal. Petitioner’s father was also sentenced prior to the
issuance of the Kimbrough decision by the Supreme Court. The Fourth Circuit affirmed
his conviction and sentence based on the same analysis cited here. See Hunter, 319 F.
App’x at 292-93.

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agreement carry a strong presumption of verity because courts must be

able to rely on the defendant’s statements made under oath during a

properly conducted Rule 11 plea colloquy.” Lemaster, 403 F.3d at 221

(citations and internal quotation marks omitted). Therefore, even if the

Court assumes counsel made the promise that Petitioner would receive a

two-level reduction based on his role, Petitioner cannot establish prejudice

given Petitioner’s acknowledgment in his Rule 11 colloquy that the

sentence might be higher than expected. Petitioner has not established

the prejudice prong under Strickland, and therefore, his claim must fail.

      With respect to his appellate counsel, Petitioner first argues that his

appellate counsel was ineffective for failing to argue that the appellate

waiver was not knowingly and voluntarily made. [Doc. 1-1 at 16]. While

appellate counsel admittedly did not raise this issue, the Fourth Circuit

nevertheless reviewed the appellate waiver and specifically concluded that

the record established that Petitioner knowingly and intelligently waived his

appellate rights; that the language of the appellate waiver was clear; and

that Petitioner acknowledged his familiarity with the waiver and his

understanding of the waiver during his Plea and Rule 11 hearing. Hunter,

319 F. App’x at 292. Because the Fourth Circuit addressed the



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voluntariness of Petitioner’s appellate waiver, Petitioner cannot establish

that he suffered any prejudice from his counsel’s failure to raise the issue

on appeal.

      Next, Petitioner argues that his counsel was ineffective for failing to

file a petition for rehearing after the Fourth Circuit dismissed his appeal.

[Id.]. Petitioner has failed to articulate any basis for a petition for rehearing

to have been granted. Therefore, Petitioner has not established either

prong of the Strickland test with respect to this claim.

      As his last claim for relief, Petitioner argues that his appellate counsel

was ineffective in refusing to file a petition for writ of certiorari in the United

States Supreme Court. [Id.]. In the case of an unsuccessful appellant

represented by counsel, the attorney’s responsibilities are outlined in the

plan adopted by the Fourth Circuit Judicial Counsel implementing the

Criminal Justice Act of 1984. See 18 U.S.C. § 3006A. The Fourth Circuit

plan (hereinafter “CJA Plan”) provides, in pertinent part, as follows:

             If the judgment of [the Fourth Circuit] is adverse to the
             defendant, counsel shall inform the defendant, in
             writing, of his right to petition the Supreme Court for
             a writ of certiorari. If the defendant, in writing, so
             requests and in counsel’s considered judgment there
             are grounds for seeking Supreme Court review,
             counsel shall prepare and file a timely petition for
             such a writ and transmit a copy to the defendant ....

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            If the appellant requests that a petition for writ of
            certiorari be filed but counsel believes that such a
            petition would be frivolous, counsel may file a motion
            to withdraw with [the Fourth Circuit] wherein counsel
            requests to be relieved of the responsibility of filing a
            petition for writ of certiorari. The motion must reflect
            that a copy was served on the client.

Plan of the United States Court of Appeals for the Fourth Circuit, In

Implementation of the Criminal Justice Act, § V, ¶2.

      Petitioner’s appellate counsel, John Hunter, submitted an affidavit

recounting the events that took place with respect to his communication

with Petitioner regarding the filing of a writ of certiorari. [Criminal Case No.

1:06cr251, Doc. 8-1]. Specifically, Mr. Hunter states that he advised

Petitioner of the right to file a petition for certiorari within 90 days from the

date of the judgment and sent Petitioner a copy of the Fourth Circuit’s

opinion three days after it was issued on March 27, 2009. In his letter,

counsel noted his belief that “filing such a [p]etition in this case would be

frivolous.” [Doc. 8-1 at 3]. One month later, counsel filed a motion to

withdraw as counsel, based on “the rules and practice of the Fourth

Circuit,” and served a copy to Petitioner with instructions that any response

to the motion must be filed within seven days. [Id. at 4]. The motion was




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granted and no petition for writ of certiorari was filed. Significantly,

Petitioner does not contest counsel’s version of events.

      Mr. Hunter’s actions were consistent with the CJA plan. Therefore,

Petitioner cannot establish that counsel was deficient in failing to file a

petition for certiorari.



                              III.     CONCLUSION

      The Court has considered the pleadings and documents submitted by

the Petitioner, as well as the entire record of this matter, and finds that it is

clear that Petitioner is not entitled to relief on his claim of ineffective

assistance of counsel.



                                     IV.   ORDER

      IT IS, THEREFORE, ORDERED that:

             1.     The Government’s Motion for Summary Judgment [Doc. 9]

                    is GRANTED;

             2.     The Petitioner’s Motion to Vacate, Set Aside, or Correct

                    Sentence [Doc. 1] is DENIED and DISMISSED; and




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         3.   Pursuant to Rule 11(a) of the Rules Governing Section

              2255 Cases, this Court declines to issue a certificate of

              appealability as Petitioner has not made a substantial

              showing of a denial of a constitutional right. See 28 U.S.C.

              § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38,

              123 S.Ct. 1029, 154 L.Ed.2d 93 (2003) (holding that in order

              to satisfy § 2253(c), a petitioner must demonstrate that

              reasonable jurists would find the district court’s assessment

              of the constitutional claims debatable or wrong) (citing Slack

              v. McDaniel, 529 U.S. 473, 483-84, 120 S.Ct. 1595, 146

              L.Ed.2d 542 (2000)).

   IT IS SO ORDERED.

                                   Signed: July 5, 2010




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